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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 RONALDO LIGONS, BRENT BUCHAN,                    Case No. 15‐CV‐2210 (PJS/BRT)
 LAWRENCE MAXCY, JOHN ROE, and
 JANE ROE, individually, and on behalf
 of those similarly situated,

                     Plaintiffs,

 v.                                                          ORDER

 MINNESOTA DEPARTMENT OF
 CORRECTIONS; THOMAS ROY, in his
 official capacity as Commissioner,
 Minnesota Department of Corrections;
 DAVID A. PAULSON, M.D., in his
 official capacity as Medical Director,
 Minnesota Department of Corrections;
 and NANETTE LARSON, in her official
 capacity as Health Services Director,
 Minnesota Department of Corrections,

                     Defendants.

       Andrew H. Mohring, Michael V. Ciresi, Katie Crosby Lehmann, and Esther O.
       Agbaje, CIRESI CONLIN LLP; Peter J. Nickitas; and Carl Peter Erlinder, for
       plaintiffs.

       Kathryn A. Fodness, Andrew Tweeten, and Kelly S. Kemp, MINNESOTA
       ATTORNEY GENERAL’S OFFICE, for defendants.

       Plaintiffs are inmates who are in the custody of defendant Minnesota

Department of Corrections (“DOC”) and who have chronic hepatitis C (“HCV”)

infections. They filed this action to challenge the protocol under which the DOC

decides whether and how to treat inmates with chronic HCV.
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       The Court recently issued an order granting in part and denying in part

defendants’ motion for summary judgment and granting plaintiffs’ motion for class

certification. ECF No. 317. Because the order discusses plaintiffs’ medical conditions,

the Court filed it under seal and solicited input from the parties regarding redactions.

       The Court has received the parties’ proposed redactions and, for the most part,

concludes that they are overbroad and that plaintiffs’ privacy interests in the details of

the treatment (or non‐treatment) of their chronic HCV is outweighed by the public’s

common‐law right of access to judicial records, particularly in light of the fact that this

is a class action concerning a matter of public interest and plaintiffs’ course of treatment

is directly relevant to several of the Court’s rulings. See IDT Corp. v. eBay, 709 F.3d 1220,

1222‐24 (8th Cir. 2013) (recognizing the public’s common‐law right of access to judicial

records in civil cases and articulating a balancing test for determining what may be

sealed). The Court will, however, redact the following text:


 Location                              Portion to be Redacted

 Page 7, line 1                        Text between “and also” and “Maxcy Aff.”

 Page 7, line 6                        Text between “that Maxcy” and “may make him
                                       eligible”

 Page 32, line 6                       Text between “because he” and “and therefore
                                       currently eligible”




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      The Court will delay implementation of this order until January 31, 2019, to

allow the parties time to seek relief from the United States Court of Appeals for the

Eighth Circuit.

                                         ORDER

      Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT, on January 31, 2019, the Court will file ECF No. 317

with the redactions identified above.


 Dated: January 24, 2019                      s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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